         Case 0:09-cv-61474-JAL Document 1 Entered on FLSD Docket 09/17/2009 Page 1 of 8




                                                     09-CV-61474-Lenard-Turnoff




                                                                         Sept. 17, 2009




1 of 8
         Case 0:09-cv-61474-JAL Document 1 Entered on FLSD Docket 09/17/2009 Page 2 of 8




2 of 8
         Case 0:09-cv-61474-JAL Document 1 Entered on FLSD Docket 09/17/2009 Page 3 of 8




3 of 8
Case 0:09-cv-61474-JAL Document 1 Entered on FLSD Docket 09/17/2009 Page 4 of 8
Case 0:09-cv-61474-JAL Document 1 Entered on FLSD Docket 09/17/2009 Page 5 of 8
Case 0:09-cv-61474-JAL Document 1 Entered on FLSD Docket 09/17/2009 Page 6 of 8
Case 0:09-cv-61474-JAL Document 1 Entered on FLSD Docket 09/17/2009 Page 7 of 8
Case 0:09-cv-61474-JAL Document 1 Entered on FLSD Docket 09/17/2009 Page 8 of 8
